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                        EXHIBIT GG
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                      Case 2:90-cv-00520-KJM-SCR
                      ¡.
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             14 Attorneys for Plaintiffs
                                                   IN THE UNITED STATES DISTRICT COURTS
             is
                                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
             16
                                                 AND THE NORTHERN DISTRICT OF CALIFORNIA
             17                    UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             18
                                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

             19 RALPH COLEMAN, et aL.,                                ) No. Civ S 90-0520 LKK-JFM P
                                                                      )
             20                    Plaintiffs,                        ) THREE~JUDGE COURT
                                                                      )
             21             VS.                                       )
                                                                      )
             22 ARNOLD SCHW ARZENEGGER, et aL.,                       )
                                                                      )
             23                    Defendants                         )
                                                                      )
             24 MARCIANO PLATA ,et aL.,                               ) No. C01-1351 THE
                                                                      )
             25                    Plaintiffs,                         ) THREE-JUDGE COURT
                            VS.                                        )
             26                                                        ) PLAT A PLAINTIFFS' THIRD SUPPLEMENTAL

             27
             28
                     AROLD SCHWARZENEGGER, et aL.,
                                                                       ).
                                                                       ) RESPONSE TO DEFENDANT TILTON'S FIRST
                                                                       ) SET OF INTERROGATORIES



                       PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: eiv s
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                                                                90-0520 LKK.JFM, eOl-I351 TEH .
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     1 PROPOUNDING PARTIES:                                            DEFENDANT TILTON

     2 RESPONDING P ARTIES:                                            PLATA PLAINTIFFS

     3 SET NUMBER:                                                     ONE

     4 Pursuant to Federal Rule of                                  Civil Procedure 33 and the general rules governing discovery,

     5 Plaintiffs hereby submit the following Third Supplemental Response to Defendant Tilton's First Set of

     6 Interrogatories to Plaintiff Plata:

     7 PRELIMINARY STATEMENT AND GENERAL OBJECTIONS
     8                   L           Plaintiffs have not completed their investigation of                     the facts relating to this      case, have

     9 not completed their discovery in this action and have not completed their preparation for trial. As of

   10 the date of             Plaintiffs' response, Defendants continue to wrongfuly withhold responsive and material

   1 1 documents that both the Magistrate Judge and the Three Judge Courts have ordered be produced.
   12 Therefore, these responses, while based on diligent factual exploration, reflect only Plaintiffs' current

   i J state of knowledge, understanding, and belief with regard to the matters about which inquiry has been

   i 4 made. Plaintiffs reserve the right to supplement these responses with subsequently obtained or

   15 discovered information. With regard to each interrogatory, Plaintiffs reserve the right, notwithstanding
   16 these answers and responses, to employ at trial or in any pretral proceeding herein information

   17 subsequently obtained or discovered, information the materiality of                                        which is not presently ascertained,

   18 or information Plaintiffs do not regard as coming within the scope of                                        the Interrogatories as Plaintiffs

   i 9 understand them.

   20                    2.          These responses are made solely for the purpose of                        this action. Each answer is subject

   21 to all objections as to competence, relevance, materiality, propriety, admissibility, privacy, privilege,
   22 and any and all other objections that would require exclusion of any statement contained herein if any

   23 such Interrogatories were asked of, or any statement contained herein were made by, a witness present
   24 and testifying in court, all of                     which objections and grounds are reserved and may be interposed at the

   25 time of            tral.
   26                    3.          Except for explicit facts admitted herein, no incidental or implied admissions are
   27 intended hereby. Plaintiffs' answers or objections to any interrogatory                                          are not an admission of any fact

   28 set forth or assumed by that intelTogatory. In addition, each of                                   Plaintiffs' answers to an interrogatory
                                                                                            -1-
                PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT                        TILTON'S FIRST SET      OF INTERROGATORIES, NOS.: eiv S

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              i or part of any interrogatory is not a waiver of par or all of any objection she.might make to that form


             2 of interrogatory, or an admission that such answer or objection constitutes admissible evidence.

             3 Plaintiffs assert these objections without waiving or intending to waive any objections as to

             4 competency, relevancy, materiality or privilege.

             5                  4.           Plaintiffs object to each and every interrogatory to the extent that Defendants are

             6 requesting information that is privileged pursuant to the attorney-client privilege, the work product

             7 doctrine, the right to privacy, or any other applicable privilege or doctrine. Plaintiffs object tö the

             8 Definition of "PLAINTIFFS" which specifically includes "attorneys" and therefore by definition seeks
             9 information in violation of                    the attorney-client privilege and the work product doctrine. Plaintiffs

            10 object to the Instructions provided by Defendants insofar as they specifically call for information

            i 1 protected by the attorney-client privilege and work-product doctrine, such as requiring Plaintiffs to


            12 "furnish all infonnation available to you, including information in the possession of
            13 your.. .        attorneys. .." and asking for infonnation that is "obtained or developed by you or your counseL."

            14                  5.           Plaintiffs object to each and every interrogatory to the extent that Defendants are

            15 requesting information that is neither relevant to the subject matter of this action or reasonably

        . 16 calculated to lead to the discovery of admissible evidence.

            17                  6.           Plaintiffs object to the Interrogatories. to the extent that they seek information available

            18 to.        Defendants though public sources or records, and on the grounds that they subject Plaintiffs to

            19 unreasonable and undue anoyance, oppression, burden and expense. Plaintiffs further object to the
                                                                                                                         \

            20 Requests to the extentthat such Requests are unduly burdensome because much or all of
                                                                                                                               the

            21 information requested in the Interrogatories is in the possession of Defendants, has been filed with
            22 Cour, or is otherwise equally or more available to Defendants than to Plaintiffs.

            23                  7.           Plaintiffs object to the Interrogatories to the extent that they are vague and ambiguous

            24 and do not include adequate definition, specificity, or limiting factors.

            25                  8.           Plaintiffs object generally to each interrogatory to the extent that it seeks information

            26 prepared by expert consultants. Plaintiffs' retained expeits completed reports on November 9,2007,

            27 August 15 and 27, 2008, and wil be providing at least two additional expert reports in September, as
            28
                                                                                                  -2-
                          PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORJES, NOS.: eiv S
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     1 required by the Three-Judge Court's orders. Many of                    Defendants' Interrogatories request information

    2 that was or wil be provided in whole or in par through expert testimony.

    3                 9.          Plaintiffs object generally to each interrogatory that involves an opinion or contention

    4 that relates to fact or the application of law to fact upon the ground that such Interrogatories are


    5 premature and inappropriate until after discovery has been completed. Plaintiffs moreover object to

    6 Interrogatories requesting "each and every" and/or "any and all" fact(s) or piece(s) of evidence on a

    7 paricular topic, as such contention Interrogatories are unduly burdensome, oppressive, and

    8 inappropriate.

    9 Subject to and without waiving the foregoing objections, and incorporating them by reference

   10 into each of            the responses provided below, Plaintiffs hereby respond as follows:

   11 RESPONSES TO                                                    INTERROGATORIES




   12 INTERROGATORY NO.1:
   13 Do PLAINTIFFS contend that no other relief, other than a PRISONER RELEASE ORDER
   14 ("meanfingJ any order, including a temporary restraining order or preliminary injunctive relief that

   15 has the purpose or effect of reducing or limiting the prison population, or that directs the release from

   16 or nonadmissionof prisoners to a prison ass et forth in the Prison Litigation Reform Act (P LRA) at J 8

   17 us. C. section 3626(g)(4). "), wil remedy the failure of
                                                                                the Offce of      the Receiver to provide

  . 1 8 constitutionally adequate medical care to Plaintiffs?
   19 RESPONSE TO INTERROGATORY NO.1:
   20 In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

   21 grounds that it is vague, ambiguous and overbroad; to the extent that it seeks information not relevant

   22 to this litigation nor reasonably calculated to lead             to the discovery of admissible evidence. It is also

   23 vague and ambiguous to the extent that it suggests that the failure to provide constitutionally adequate

   24 medical care to Plaintiffs is the sole responsibilty of               the Offce of        the Receiver. Further, Plaintiffs

   25 object to the terms "remedy" and "constitutionally adequate" as vague and ambiguous. Plaintiffs also

   26 object to the extent that it.would require disclosure of information protected by the attorney-client

   27 privilege, work-product doctrne, or any other applicable privilege.

   28
                                                                        -3-
              PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: eiy S
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     1 Without waiving and subject to its objections, Plaintiffs respond that they do contend that no

    2 other relief, other than a PRISONER RELEASE ORDER (as defined in Defendant's Tilton's First set

    3 ofInterrogatories) wil remedy the Defendants' and the Office of                                     the Receiver's inabilty to provide

    4 constitutionally adequate medical care to Plaintiffs.

    5 .INTERROGATORYNO. 2:
    6 State all facts that relate to PLAINTIFFS' contention set forth in response to interrogatory

    7 number 1.

    8 RESPONSE TO INTERROGATORY NO.2:
    9 In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

   10 grounds that it is vague, ambiguous and overbroad; to the extent that it seeks information not relevant

   11 to this litigation nor reasonably calculated to lead to the discovery of admissible evidence. It is vague
   12 and ambiguous to                 the extent that it suggests that the failure              to provide constitutionally adequate

   13 medical care to Plaintiffs is the sole responsibilty of                           the Offce of       the Receiver. Furter, Plaintiffs.

   14 object to the terms "remedy" and "constitutionally adequate" as vague and ambiguous. ~laintiffs also

   15 object to the extent that it would require disclosure of information protected by the attorney-client

   16 privilege, work-product doctrine, or any other applicable privilege. Plaintiffs further object on the

   17 grounds that this interrogatory is premature: Discovery is stil on going, Defendants have stil not

   18 produced all documents requested and depositions have not yet been taken. This premature discovery
   19 wil result
   20 Without waiving and subject to its objections, Plaintiffs respond as follows: All facts set forth
   21 in Plaintiffs' Notice of Motion and Motion to Convene a Three Judge Panel to Limit Prison
   22 Population, filed on November 13, 2006 in Plata v. Schwarzenegger; All facts referenced in Plaintiffs'
   23 expert report due on November 9,2007.

   24 SUPPLEMENT AL RESPONSE TO INTERROGATORY NO.2:
   25 Incorporating and without waiving all objections and General Objections stated above, Plaintiff
   26 responds as follows: all facts set forth or referenced in Plaintiffs' Expert reports that have and will be

   27 submitted to Defendants according to the expert discovery schedule, including in all exhibits and

   28
                                                                                      -4-
             PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT                        TILTON'S FIRST SET.   OF INTERROGATORIES, NOS.: eiv S

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     1 documents relied on and listed in those reports; and all facts set forth or referenced in depositions taen

     2 to date including iii the exhibits for all depositions taken to date.

     3 INTERROGATORY NO.3:
    4 Identify all DOCUMENTS that relate to PLAINTIFFS' contention set forth in response to
     5 interrogatory number 1.

     6 RESPONSE TO INTERROGATOllY NO.3:
     7 In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

     8 grounds that it is vague, ambiguous and overbroad; to the extent that it seeks information not relevant

     9 to this litigation nor reasonably calculated to lead to the discovery of admissible evidence. It is vague

   10 and ambiguous to the extent that it suggests that the failur to provide constitutionally adequate

   1 i medical care to Plaintiffs is the sole responsibility of the Offce of the Receiver. Plaintiffs also object
   12 to the extent that it would require disclosurè of information protected by the attorney-client privilege,

   13 work-product doctrine, or any other applicable privilege. Plaintiffs further object on the grounds that

   i 4 this interrogatory is premature: Discovery is stil on going, Defendants have stil not produced all

   15 documents requested and depositions have not yet been taken. This premature discovery will result in

   i 6 piecemeal disclosure of information thereby imposing an undue burden on Plaintiffs.

   17 Without waiving and subject to its objections, Plaintiffs respond as follows: Governor
   18 Schwarzenegger's Proclamation of a State of Emergency regarding prison overcrowding; Publicly

   19 available aricles and photographs; CDCR's Inmate Population, Rehabiltation, and Housing

   20 Management Plan; Relevant portions of                     the Record Transcript from the October 5, 2006 Hearing in

   21 Madrid v. Tilton, Case No. 90-3094 TEH; Findings of Fact and Conclusions of Law Re Appointment
   22 of       Receiver, entered October 3,2005; Corrections Independent Review Panel, "Reforming

   23 Corrections," June 2004, Chapter 7, Inmate/Parolee Population Management; CDCR Population
   24 Statistics, dated November 1,2006; Relevant portions of                   the Record Transcript from.the April 26 and

   25 27,2006 Hearing in Coleman v. Schwarzenegger, 90-0520 LKK; Memorandum wrtten by John

   26 Dovey, entitled "Memorandum Re: Modification to Correctional Operations Due to Compellng .

   27 Operational Need," dated October 25,2006; Dr. Peter Farber-Szekrenyi's Letter to Robert Silen and J.

   28 Michael Keating, Jr., dated September 1,2006; Governor Schwarzenegger's Proclamation to convene a
                                                       -5-
             PLAT A PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: eiv s
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     I special session of                the Legislature, issued June 26, 2006; Statement ofCDCR Acting Secretay James

    2 Tilton on the Legislature's Failure to Act on Critical Prison Reform Legislation, issued September I,

    3 2006; Offce of                  the Inspector General, "Accountabilty Audit, Review of           the Audits of   the California

    4 Department of Corrections and Rehabilitation Adult Operations and Adult Programs, 2000-2004,"

    5 April 2006, Exec. Summary; California Deparent of Corrections (CDCR) Spring 2007 Adult

    6 Population Projections; Ruling on Submitted Matter: Petition for Writ of Mandate, Injunction and

    7 Declaratory Relief, California Correctional Peace qffcers' Associationv. Schwarzenegger, No.

    8 06CS01568 (Sacramento Superior Ct.), filed Feb. 20; 2007; Senate Budget and Fiscal Review

    9 Committee Subcommittee No.4, Agenda of April 12,2007; Draft Seventeenth Monitoring Report on

   10 the Defendants' Compliance with Provisionally Approved Plans, Policies, and Protocols, issued by the

   11 Special Master on or about May 4, 2007, in Coleman v. Schwarzenegger, No. Civ S 90-0520 LKK;

   12 Senate Budget and Fiscal Review Committee Subcommittee No.4, Agenda of
                                                                                                                May 9, 2007; Dr. Joan

   13 Petersila, ItUnderstanding California Corrections, "May 29,2007; Declaration of Scott Kernan in

   14 Opposition to Writ of                     Mandate, Caltfornia Correctional Peace Offcers' Organization v.

   15 Schwarzenegger, No. 06CS01568 (Sacramento Superior Ct.), filed Januar 19,2007; Plata
  .16 Defendants' Report in Response to the Court's February 15,2007 Order, May 16,2007; California

   17 State Sheriffs' Association, "Do the Crime, Do the Time? Maybe Not, in California: Jáil Cell Shortage

   18 is Upsetting the Balance," June 2006; all monitoring reports prepared by Plaintiffs and sent to

   i 9 Defendants in Plata v. Schwarzenegger; all reports commissioned by or prepared by the Ofñce of the

   20 Receiver; any additional documents referenced in our expert report due on November 9, 2007;

   21 pleadings, orders and documents filed in this Plata v. Schwarzenegger and Coleman v.
   22 Schwarzenegger.

   23 PRIOR SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.3
   24 Incorporating all objections and General Objections statéd above, Plaintiff responds as follows:
   25 All documents, aricles and photographs referenced in Coleman and Plata Plaintiffs' expert reports
   26 filed on November 9, 2007: (1) Report of Jeanne Woodford; (2) Report of
                                                                                                          Doyle Wayne Scott; (3)

   27 Report of               Ronald Shansky; (4) Report of James Austin; (5) Report of             Pablo Stewart; (6) Report of

   28 Craig Haney; photographs from the CDCR website, ww.cdcr.ca.gov.
                                                                                           -6-
              PLATA PLAfNTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF fNTERROGATORIES, NOS.: eiv s
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    1 SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.3:
    2 . Incorporating and without waiving all objections and General Objections stated above, Plaintiff

    3 responds as follows: Plaintiffs' Expert reports that have and will be submitted to Defendants according

    4 to the expert discovery schedule, including all exhibits and documents relied on and listed in those

    5 reports; and all depositions taken to date including the exhibits for all depositions taen to date.


    6 INTERROGATORY NO.4:
    7 Do PLAINTIFFS contend that the plans of                             the Offce of   the Receiver, as set forth in the

    8 Receiver's Quarterly Reports and Plan of                     Action dated May 2007 wil fail to result in DEFENDANTS

    9 providing constitutionally adequate medical care to PLAITIFFS?

   10 RESPONSE TO INTERROGATORY NO.4:
   1 i In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

   i 2 grounds that it is vague, ambiguous and overbroad; to the extent that it seeks information not relevant
   13 to this litigation nor reasonably calculated to lead to the discovery of admissible evidence. Further,
   14 Plaintiffs object to the term "constitutionally adequate" as vague and ambiguous. Plaintiffs also object
   15 to the extent that it would require disclosure of information protected by the attorney-client privilege,

   16 work-product doctrine, or any other applicable privilege.

   17 Without waiving and 'subject to its objections, plaintiff responds that this interrogatory is so
   18 ambiguous, vague as to time and overbroad that it cannot be answered by Plaintiffs: It asks whether

   19 Plaintiffs contend that the plans of the Offce of the Receiver wil fail to result in Defendants providing
   20 constitutionally adequate medical care to Plaintiffs without specifying a time period. Further, it asks
   21 whether Plaintiffs contend that a broad plan which is "subject to revision.. .as it is developed" and
   22 which merely sets forth an "overall direction", "ariculates high level steps" and requires that "a

   23 number of             time-phased inter-related remedial programs" be instituted", see plan at page 3, wil fail to

   24 result in Defendants providing constitutionally adequate care to Plaintiffs.

   25 PRIOR SUPPLEMENTAL RESPONSE.                                   TO INTERROGATORY NO.4

   26 Incorporating all objections and General Objections stated above, Plaintiff responds as follows:
   27 Plaintiffs do contend that the preliminary plans set forth
                                                                                   in the Receiver's Quarerly Reports fied on

   28 June 20, 2007 (5th Quarterly Report) and September 25, 2005 (6th Quarerly Report) (the "Quarerly
                                                                          -7-
              PLAT A PLAINTIFFS' TI-RD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: CIV S
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     i Reports") and Plan of Action dated May 2007 wil fail to result in Defendants providing
    2 constitutionally adequate medical care to Plaintiffs.

    3 INTERROGATORY NO.5




    6 RESPONSE TO INTERROGATORY NO.5:




   22 direction", "articulates high level steps" and requires that "a number of
                                                                                                                     time-phased inter-related

   23 remedial programs" be instituted", see plan at page 3, wil fail to result in Defendants providing

   24 constitutionally adequate care to Plaintiffs.

   25 PRIOR SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.5:
   26 Incorporating all objections and General Objections stated above, Plaintiff responds as follows:
   27 All facts referenced in Coleman and PlaIa Plaintiffs' expert reports fied on November 9, 2007: (1)
   28 Report of Jeanne Woodford; (2) Report of                               Doyle Wayne Scott; (3) Report of             Ronald Shansky; (4)
                                                                                        -8-
              PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: eiv S
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              1   Report of James Austin; (5) Report of                      Pablo Stewart; (6) Rep?rt of     Craig Haney; all facts referenced in

              2   Plaintiffs' Response to Receiver's Plan of Action, fied June 29, 2007 in this action.

              3   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.5:
              4              Incorporating and without waiving all objections and General Objections stated above, Plaintiff

              5   responds as follows: all facts set forth or referenced in Plaintiffs' Expert reports that have and wil be

              6   submitted to Defendants according to the expert discovery schedule, including in all exhibits and

              7   documents relied on and listed in those reports; and all facts sèt fort or referenced in depositions taken

              8   to date including in the exhibits for all depositions taken to date.

              9   INTERROGATORY NO.6:
             10              Identify all DOCUMENTS that relate to PLAINTIFFS' contention set forth in response to

             11   interrogatory number 4.

             12   RESPONSE TO INTERROGATORY NO.6:
             13              In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

             14   grounds that it is vague, ambiguous and overbroad; and to the extent that it seeks information not
             15   relevant to this litigation nor reasonably calculated to lead to the discovery of admissible evidence.

             16   Plaintiffs object to the term "constitutionally adequate" as vague and ambiguous. Plaintiffs also object

             17   to the extent that it would require disclosure of information protected by the attorney-client privilege,

             18   work-product doctrine, or any other applicable privilege. Plaintiffs further object on the grounds that

             19   this interrogatory is premature: Discovery is stil on going, Defendants have stil not produced all

             20   documents requested and depositions have not yet been taken. TIns premature discovery wil result in

             21   piecemeal disclosure of information thereby imposing an undue burden on Plaintiffs

             22              Without waiving and subject to its objections, Plaintiffs respond that this interrogatory is so

             23   ambiguous, vague as to time and overbroad that it cannot be answered by Plaintiffs: It asks whether

             24   Plaintiffs contend that the plan of the Offce of the Receiver wil fail to result in Defendants providing

             25   constitutionally adequate medical care to Plaintiffs without specifying a time period. Furter, it is


             26   unintellgibly vague, ambiguous and overbroad in that it asks whether Plaintiffs contend that a broad

             27   plan which is "subject to revision. . . as it is developed" and which merely sets forth an "overall

             28   direction", "articulates high level steps" and requires that "a number of                       time-phased inter-related
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                    PLATA PLAINTIFFS' THTRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: eiy s
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    1 remedial programs" be instituted", see plan at page 3, wil fail to result in Defendants providing

   2 constitutionally adequate care to Plaintiffs.

   3 PRIOR SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.6:
   4 Incorporating all objections and General Objections stated above, Plaintiff responds as follows:

    5 Coleman and Plata Plaintiffs' expert reports fied on November 9,2007: (1) Report of Jeane

    6 Woodford; (2) Report of                    Doyle Wayne Scott; (3) Report of            Ronald Shansky; (4) Report     of James

    7 Austin; (5) Report of                 Pablo Stewart; (6) Report of Craig Haney; all documents, articles and

    8 photographs referenced therein; the Receiver's Report re Overcrowding, fied on May 15,2007 in this

    9 áction; Plaintiffs' Response to Receiver's Plan of Action, filed June 29, 2007 in this action; Receiver's


   10 Quarterly Reports fied on June 20, 2007 (5th Quarterly)and September 25, 2005 (6th quarerly report)

   1 I and Plan of Action dated May 2007.

   12 SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.6:
   13 Incorporating and without waiving all objections and General Objections stated above, Plaintiff
   14 responds as follows: Plaintiffs' Expert reports that have and wil be submitted to Defendants according

   15 to the expert discovery schedule, including all exhibits and documents relied on and listed in those

   16 reports; and all depositions taken to date including the exhibits for all depositions taken to date.

   17 INTERROGATORY NO.7
   18 Do PLAINTIFFS contend that a PRISONER RELEASE ORDER wil not adversely affect

   19 public safety?
   20 RESPONSE TO INTERROGATORY NO.7:
   21 In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

   22 grounds that it is vague, ambiguous and overbroad; and to the extent that it seeks information not

   23 relevant to this litigation nor reasonably calculated to lead to the discovery of admissible evidence.
   24 Plaintiffs objectto the term "adversely afect" as it is vague and ambiguous. Plaintiffs also object to
   25 the extent that it would require disclosure of information protected by the attorney-client privilege,

   26 work-produetdoctrine, or any other applicable privilege.

   27 Without                       waiving and subject to its objections, Plaintiffs respond that this inten-ogatory is

   28 premature as it is not relevant to Phase 1 of
                                                                              this litigation, as set forth in the Judges' October 10,2007
                                                                                    -10-
                PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: CIV S

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     1 Order Bifurcating Proceedings and Settng Deadlines For Phase I and Judge Moulds' October 30,

    2 2007 order. This premature discovery seeks to avoid the orderly plan set forth in those orders, and thus
    3 imposes an undue burden on Plaintiffs. Plaintiffs reserve                  the right to raise additional objections when

    4 and if a response to ths interrogatory is needed.
    5 SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.7:
    6 Incorporating herein all General Objections and other objections stated above, Plaintiffs

    7 respond as follows: Plaintiffs do contend that a PRISONER RELEASE ORDER need not adversely

    8 affect public safety.
    9 INTERROGATORY NO.8:
   10 State all facts that relate to PLAINTIFFS' contention set forth in response to interrogatory
   11 number 7.

   12 RESPONSE TO INTERROGATORY NO.8:
   13 In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

   i 4 grounds that it is vague, ambiguous and overbroad; and to the extent that it seeks information not


   i 5 relevant to this litigation nor reasonably calculated to lead to the discovery of admissible evidence.


   16 Plaintiffs object to the term "adversely affect" as it is vague and ambiguous. Plaintiffs also object to
   17 the extent that it would require disclosure of information protected by the attorney-client privilege,

   i 8 work-product doctrine, or any other applicable privilege. Plaintiffs further object on the grounds that
   19 this intelTogatory as prematue: Discovery is stil ongoing, defendants have stil not produced all

   20 documents requested and depositions havenot yet been taken. This premature discovery wil result in

   2 i piecemeal disclosure of information thereby imposing an undue burden on Plaintiffs.

   22 Without waiving and subject to its objections, Plaintiffs respond that this interrogatory is
   23 premature as it is not relevant to Phase i of                 this litigation, as set forth in the Judges' October 10,2007

   24 Order Bifurcating Proceedings and Setting Deadlines For Phase i and Judge Moulds' October 30,

   25 2007 order. This premature discovery seeks to avoid the orderly plan set forth in those orders, and thus
   26 imposes an undue burden on Plaintiffs.

   27 PRIOR SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.8:
   28
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              PLATA PLAfNTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: CIV S
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             1 Incorporating herein all General Objections and other objections stated above, Plaintiffs

            2 respond as follows: facts as set forth in Governor Schwarzenegger's 2008-09 budget proposal, reports

            3 such as Accelerated Release: A Literature Review, January 2008, available at http://ww.nccd-crc.org,

            4 and all reports cited therein; Expert Panel on Adult Offender and Recidivism Reduction Programming,

            5 Report to the State Legislature, A Roadmap for Effective Offender Programming in California (June

            6 29, 2007); Little Hoover Commission, Solving California's Corrections Crisis: Time is Running Out

            7 (Januar 2007);                Reforming Corrections: Report of                        the Corrections Independent Review Panel, June

            8 30,2004 (Former Gov. Deukmejian, Chairman); Petersilia, Joan, Understanding California

            9 Corrections, California Policy Research Center, University of California (May 2006)

           10 (http://vvww.ucop.edu/cprc/documents/understand ca corrections.pgf; Final Report and

           i 1 Recommendations, Feb. 2008, Blue Ribbon Commission on Jail Overcrowding, County of
                                                                                                                                         Santa

           12 Barbara, (http://ww .S bsheriff.org/ documentslFullFinalBRCRepoii. pdt); Governor's Rehabiltation

           13 Strike Team Report, Meeting the Challenges of Rehabilitation in California's Prison and Parole

           14 System, December 2007

           15 (http://ww.cdcr.ca. gov /news/ docs/Gov RehabilitationStrike TeaniRpt 012308. pdf).

           16 SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.8:
           17 Incorporating and without waiving all objections and General Objections stated above,
           i 8 Plaintiffs further object on the basis that this interrogatory calls for an expert opinion. Plaintiffs'


           i 9 experts have submitted expert reports and will submit additional reports, according to the expert report


           20 discovery schedule.
           21 Without waiving and subject to all the objections stated above, Plaintiffs respond as follows:
           22 furter responsive facts are set forth                        in Plaintiffs' Expert reports; were raised in the depositions that

           23 were taken to date; and are contained in documents in the custody and control of Defendants.
           24 INTERROGATORY NO.9:
           25 Identify all DOCUMENTS that relate to PLAINTIFFS' contention set forth in response to
           26 interrogatory number 7.
           27 RESPONSE TO INTERROGATORY NO.9:
           28
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                      PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS.: CIV S
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              1 In addition to the General Objections stated above, Plaintiffs object to this interrogatory on the

              2 grounds that it is vague, ambiguous and overbroad; and to the extent that it seeks information not

              3 relevant to this litigation nor reasonably calculated to lead to the discovery of admissible evidence.


              4 Plaintiffs object to               the term "adversely affect" as it is vague and ambiguous. Plaintiffs also object to

              5 the extent that it would require disclosure of information protected by the attorney-client privilege,


              6 work-product doctrine, or any other applicable privilege. Plaintiffs further object on the grounds that
              7 this interrogatory as prematue: Discovery is stil ongoing, defendants have stil not produced all

              8 documents requested and depositions have not yet been taken. This premature discovery wil result in

              9 piecemeal disclosure of information thereby imposing an undue burden on Plaintiffs.

             i 0 Without waiving and subject to its objections, Plaintiffs respond that this interrogatory is

             i 1 premature             as it is not relevant to Phase 1 of     this litigation, as set forth in the Judges' October 10,2007

             12 Order Bifurcating Proceedings and Setting Deadlines For Phase 1 and Judge Moulds' October 30,
             13 2007 order. This prematue discovery seeks to avoid the orderly plan set forth in those orders, and thus

             14 imposes an undue burden on Plaintiffs.

             15 PRIOR SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.9:
             16 Incorporating herein all General Objections and other objections stated above, Plaintiffs

             17 respond as follows: the Governor Schwarzenegger's 2008-09 budget proposal, reports such as

             18 Accelerated Release: A Literature Review, Januar 2008, available at http://ww.nccd-crc.org, and all

             19 reports cited therein, Expert Panel on Adult Offender and Recidivism Reduction Programming, Report

             20 to the State Legislature, A Roadmap for Effective Offender Programming in California (June 29,

             21 2007); Little Hoover Commission, Solving California's Corrections Crisis: Time is Running Out
             22 (January 2007); Reforming Corrections: Report of the Corrections Independent Review Panel, June

             23 30,2004 (Former Gov. Deukmejian, Chairman); Petersilia, Joan, Understanding California

             24 Corrections, California Policy Research Center, University of California (May 2006)

             25 (htt://ww.ucop.edu/cprc/documents/understand ca corrections.pdf); Final Report and

             26 Recommendations, Feb. 2008, Blue Ribbon Commission on Jail Overcrowding, County of Santa

             27 Barbara, (llttp://ww.sbsheriff.org/documentslFullFinalBRCReport.pdf); Governor's Rehabiltation

             28      Strike Team Report,               Meeting the Challenges of Rehabiltation in California's Prison and Parole
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                        PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TILTON'S FIRST SET OF INTERROGATORIES, NOS,: CIV S
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    1 System, December 2007

   2 . (http://ww.cdcr.ca. gov/news/docs/GovRehabiltationStrikeTeamRpt 0 I 2308.pdf).
   3 SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.9:
   4 Incorporating and without waiving all objections and General Objections stated above,

    5 Plaintiffs respond as follows: Plaintiffs' Expert reports that have and wil be submitted to Defendants

   6 according to the expert discovery schedule, including all exhibits and documents relied on and listed in

   7 those reports; all depositions and exhibits from depositions taken to date; and other documents that are


    8 in the custody and control of Defendants.

    9

   10         Dated: September 8, 2008                                    PRISON LAW OFFICE

   11

   12                                                                     By:   L. 0tf1
                                                                                 Zoe Schonfeld
   13                                                                             Attorneys for Plaintiffs
                                                                                  MARCIANO PLATA, ET AL.
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               PLATA PLAINTIFFS' THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT TIL TON'S FIRST SET OF INTERROGATORIES, NOS.: CIV S
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